                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

BLUE CROSS AND BLUE SHIELD              )
OF KANSAS CITY,                         )
                                        )
                Plaintiff,              )
                                        )     Case No. 21-cv-00525-FJG
v.                                      )
                                        )
GS LABS LLC,                            )
                                        )
                Defendant.              )

                   SUGGESTIONS IN OPPOSITION TO
         BLUE KC’S MOTION FOR PARTIAL SUMMARY JUDGMENT




      Case 4:21-cv-00525-FJG Document 208 Filed 03/31/22 Page 1 of 45
                                                  TABLE OF CONTENTS

GS LABS’ RESPONSE TO BLUE KC’S STATEMENT OF FACTS .................................... 1

GS LABS’ STATEMENT OF ADDITONAL MATERIAL FACTS ..................................... 18

SUMMARY ................................................................................................................................. 26

FACTUAL AND PROCEDURAL BACKGROUND .............................................................. 27

ARGUMENT AND AUTHORITIES ........................................................................................ 29

I.        BLUE KC HAS FAILED TO MEET ITS BURDEN OF PRODUCTION
          BECAUSE IT FAILS TO SHOW THAT GS LABS LACKS SUFFICIENT
          EVIDENCE TO SUPPORT ITS COUNTERCLAIMS............................................... 30

          A.         Blue KC Does Not Point to an Absence of Evidence on an Essential
                     Element of GS Labs’ Counterclaims. .................................................................. 30

                     1.         GS Labs has produced evidence from which a reasonably jury
                                could find GS Labs is entitled to reimbursement from Blue KC. .............. 32

                     2.         Blue KC cannot credibly contend it has satisfied its burden to show
                                there is an absence of evidence to support GS Labs’ counterclaims. ....... 35

          B.         Blue KC’s MPSJ Is Premature Because There Has Not Been Adequate
                     Time For Discovery and Blue KC Provides No Persuasive Reason to
                     Depart from the Discovery Cut-Off Date in the First Amended
                     Scheduling Order. ................................................................................................ 38

II.       ALTERNATIVELY, THE COURT SHOULD DENY BLUE KC’S MPSJ
          PURSUANT TO RULE 56(D). ...................................................................................... 39

CONCLUSION ........................................................................................................................... 40




                                         i 208 Filed 03/31/22 Page 2 of 45
            Case 4:21-cv-00525-FJG Document
                                                 TABLE OF AUTHORITIES


                                                                                                                                      Page(s)

Cases

Adickes v. S. H. Kress & Co.,
  398 U.S. 144 (1970) ............................................................................................................ 29, 30

Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242 (1986) .................................................................................................................. 30

Bedford v. Doe,
  880 F.3d 993 (8th Cir. 2018) .................................................................................. 29, 30, 33, 38

Celotex Corp. v. Catrett,
  477 U.S. 317 (1986) .......................................................................................... 26, 29, 31, 35, 38

Clark v. Coats & Clark, Inc.,
  929 F.2d 604 (11th Cir. 1991) ............................................................................................ 31, 38

Hughes v. Am. Jawa, Ltd.,
  529 F.2d 21 (8th Cir. 1976) ...................................................................................................... 30

Nick's Garage, Inc. v. Progressive Cas. Ins. Co.,
  875 F.3d 107 (2d Cir. 2017)...................................................................................................... 31

Nissan Fire & Marine Ins. Co. v. Fritz Companies, Inc.,
  210 F.3d 1099 (9th Cir. 2000) ...................................................................................... 31, 38, 39

Stuart C. Irby Co. v. Tipton,
  796 F.3d 918 (8th Cir. 2015) .................................................................................................... 30

Torgerson v. City of Rochester,
  643 F.3d 1031 (8th Cir. 2011) .................................................................................................. 30

Statutes

Pub. L. No. 115-136, § 3201, 134 Stat. 281 (2020) ................................................................ 18, 27

Pub. L. No. 116-127, § 6001(a), 134 Stat. 178 (2020) ........................................................... 18, 27

Rules

Fed. R. Civ. P. 8 .............................................................................................................................. 2

Fed. R. Civ. P. 56 ............................................................................ 1, 18, 26, 27, 29, 31, 35, 38, 39




                                         ii 208 Filed 03/31/22 Page 3 of 45
            Case 4:21-cv-00525-FJG Document
Fed. R. Evid. 803(6) ...................................................................................................................... 35

Fed. R. Evid. 1006 ........................................................................................................................ 35

Other Authorities

10A Fed. Prac. & Proc. Civ. § 2727.1 .......................................................................................... 31




                                         iii 208 Filed 03/31/22 Page 4 of 45
            Case 4:21-cv-00525-FJG Document
              GS LABS’ RESPONSE TO BLUE KC’S STATEMENT OF FACTS

         Defendant/Counter-Plaintiff GS Labs LLC (“GS Labs”), pursuant to Federal Rule of Civil

Procedure 56 and Local Rule 56.1(b)(1), provides the following response to Plaintiff/Counter-

Defendant Blue Cross Blue Shield of Kansas City’s (“Blue KC”) Statement of Uncontroverted

Material Facts (“SOF”).

         1.     GSL’s Counterclaim arises from its contention that it “submitted claims relating to

COVID-19 testing of Blue KC’s members totaling over $9.7 million” Doc. No. 4, ¶ 6.

         RESPONSE: GS Labs controverts and objects to this statement to the extent it refers

to GS Labs’ “Counterclaim” and does not specify to which of GS Labs’ eight counterclaims

this statement refers. GS Labs admits that in paragraph 6 of its Answer, filed on August 5,

2021, it stated, “GS Labs properly submitted claims relating to COVID-19 testing of Blue

KC’s members totaling over $9.7 million.” Significantly, and as set forth in more detail

below, GS Labs notes that despite Blue KC’s failure and refusal to satisfy its reimbursement

obligations under the Family First Coronavirus Response Act (“FFRCA”) and the

Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), GS Labs continues

to provide COVID-19 diagnostic and related testing services to Blue KC members and timely

submit those claims to Blue KC for payment, but Blue KC continues to improperly withhold

payment.

         2.     GSL rests its Counterclaim on the Family First Coronavirus Response Act

(FFRCA) and the CARES Act. See Doc. No. 4, Counterclaim, ¶¶ 6, 39-41, 49, 51, 54-56, 71-72,

75-76, 80, 90-93, 101-107, 111-119, 121, 126, 131, 137, 142, 146, 148, 154, 165, 173, 179, 187,

& 190.




                                       1 208 Filed 03/31/22 Page 5 of 45
          Case 4:21-cv-00525-FJG Document
       RESPONSE: GS Labs controverts and objects to this statement to the extent it refers

to GS Labs’ “Counterclaim” and does not specify to which of GS Labs’ eight counterclaims

this statement refers. GS Labs admits that Count I of GS Labs’ counterclaims seeks relief

related to Blue KC’s violations of the FFRCA and CARES Act.

       3.     GSL has not specifically identified in its pleading the claims for which it seeks

reimbursement. See generally Doc. No. 4; see also Doc. No. 24 (arguing claim-specific detail

improperly omitted from pleading).

       RESPONSE: GS Labs controverts and objects to this statement as both factually

inaccurate and as a mischaracterization of GS Labs’ obligation under Federal Rule of Civil

Procedure 8. GS Labs has plainly satisfied its Rule 8 pleading requirements by providing a

short and plain statement showing that it is entitled to relief. Further, GS Labs has identified

a number of specific “claims for which it seeks reimbursement,” and continues to produce

evidence of those claims in discovery. See, e.g., Counterclaim ¶ 82 (referencing letter to Blue

KC’s counsel providing notice of claims for COVID-19 testing for Blue KC members); ¶ 108

(depicting COVID-19 testing between November 28, 2020, and July 28, 2021, including the

type of tests administered and number of claims submitted to Blue KC as well as the amount

billed and amount paid by Blue KC); see also id. ¶¶ 73, 86–89, 94; GS Labs’ Statement of

Additional Material Facts (“SOAF”) ¶¶ 13–24, 30–31. SOF ¶ 3 merely repeats allegations set

out in Blue KC’s Motion to Dismiss (“MTD”) (Doc. 24). GS Labs denies this allegation for

the reasons set forth in GS Labs’ Suggestions in Opposition to Blue KC’s Motion to Dismiss

Counterclaim. See Doc. 38.

       4.     On September 15, 2021, GSL served its Rule 26(a) automatic disclosures. Exhibit

A1.




                                     2 208 Filed 03/31/22 Page 6 of 45
        Case 4:21-cv-00525-FJG Document
       RESPONSE: Admit.

       5.      In its Rule 26(a) disclosures, GSL identified “Blue KC Member Patient Records

including consent document and test results” as records it may use to support its defenses or claims.

Exhibit A1.

       RESPONSE: Admit.

       6.      GS Labs further stated in its Rule 26(a) disclosures that it would “produce the

documents [described in its Rule 26(a) disclosures] within seven (7) days of the Court issuing a

Protective Order.” Exhibit A1.

       RESPONSE: Admit that GS Labs stated the following it its Rule 26 Disclosures:

       GS Labs continues to conduct its investigation and search for responsive
       documents, and expressly reserves the right to supplement this disclosure and
       identify additional documents, up to and including at trial. GS Labs will
       produce the documents outlined below within seven (7) days of the Court
       issuing a Protective Order.

       MPSJ Exhibit A1.

       7.      On August 30, 2021, Blue KC requested that GSL produce “all medical records,

certifications, billing records, records of collections or write-offs, consent forms, physician or

nurses orders, or other records or data collected or generated as a result of any Blue KC member’s

receipt of services from GSL.” Exhibit A2.

       RESPONSE: GS Labs admits that Blue KC made this document request on August

31, 2021, not August 30, 2021 as indicated in MPSJ Exhibit A2.

       8.      On September 30, 2021, GSL responded to this discovery by stating that “once the

parties have an executed protective order, GS Labs will provide a rolling production of the

thousands of medical records at issue.” Exhibit A3.

       RESPONSE: As set forth in MPSJ Exhibit A3, on September 30, 2021, GS Labs

responded as follows to Blue KC’s request for “all medical records, certifications, billing



                                     3 208 Filed 03/31/22 Page 7 of 45
        Case 4:21-cv-00525-FJG Document
records, records of collections or write-offs, consent forms, physician or nurses orders, or

other records or data collected or generated as a result of any Blue KC member’s receipt of

services from GSL.”

       Both the Families First Coronavirus Response Act (FFCRA) and the
       Coronavirus Aid, Relief, and Economic Security Act (the CARES Act)
       generally require group health plans and health insurance issuers offering
       group or individual health insurance coverage to provide benefits for
       certain items and services related to diagnostic testing for the detection of
       SARS-CoV-2 or the diagnosis of COVID-19. Under both Acts, plans and
       issuers must provide this coverage without imposing any cost-sharing
       requirements or other medical management requirements. As such, GS
       Labs objects to this request as it seeks “all medical records, certifications,
       billing records, records of collections or write-offs, consent forms, physician
       or nurses orders, or other records or data collected or generated as a result
       of any Blue KC member’s receipt of services from GSL.” This Request is
       overly burdensome, specifically in light of the Congress’ directives set out
       in the FFCRA and CARES Act.

       Further, GS Labs objects to this Request as overly burdensome and not
       proportional to the claims and defenses in this case as Blue KC has already
       requested and received thousands of medical records from GS Labs despite
       the fact that such requests were rendered unnecessary and irrelevant by the
       FFCRA and CARES Act. In order to produce the thousands of medical
       records requested by this Request, an individual will need to manually
       request and print to produce each individual patient record. This is a time
       consuming
       process that will take many man hours. GS Labs further objects to this
       Request to the extent it seeks information protected under HIPAA, and such
       information will not be produced unless adequate steps are taken to
       safeguard such information, including an executed HIPAA-compliant
       protective order.

       Subject to this objection and once the parties have an executed protective
       order, GS Labs will provide a rolling production of the thousands of medical
       records at issue.

       9.      The Court entered a stipulated protective order on October 14, 2021. Doc. No. 56.

       RESPONSE: Admit.

       10.     GSL has not produced intake and consent forms and test results for the large

majority of the testing for which it seeks relief. See Exhibit A, A27



                                     4 208 Filed 03/31/22 Page 8 of 45
        Case 4:21-cv-00525-FJG Document
       RESPONSE: GS Labs admits that it has not yet completed its production of all intake

and consent forms related to COVID-19 testing services provided to Blue KC members and

for which Blue KC continues to improperly withhold payment. As set forth in GS Labs’

discovery response, GS Labs must manually request and print these records on an individual

record-by-record basis. Blue KC’s request for over 20,000 medical records is overly

burdensome and not proportional to the needs of the case. Further, requiring such

documentation is neither allowable nor proper under the FFCRA and CARES Act.

Nevertheless, as set forth in SOAF ¶¶ 27–28, GS Labs has agreed to produce intake and

consent forms and tests results for the unpaid claims at issue prior to the close of discovery

on May 15, 2022. Had Blue KC complied with its Rule 37.1(a) obligations, it could have

confirmed that this remained GS Labs’ intention without incurring the significant costs and

expenses associated with this motion. See March 31, 2022 Decl. of Christina Moore In

Support of Def.’s Suggestions In Opp’n to Pl.’s Mot. for Partial Summ. J. ¶ 4 (“Moore Decl.),

attached as Exhibit 1.

       11.    GSL has also not agreed to complete its production of the records in question before

the close of fact discovery on May 15, 2022. Exhibit A, paragraph 22.

       RESPONSE: As set forth in GS Labs’ SOAF, GS Labs has completed its production

of many of the documents identified in the MPSJ and has agreed to produce the remainder

of the outstanding records—including the patient intake and consent forms and test results

Blue KC requests—prior to the close of discovery on Mary 15, 2022. See, e.g., SOAF ¶¶ 28–

31. Had Blue KC complied with its Rule 37.1(a) obligations, it could have confirmed that this

remained GS Labs’ intention without incurring the significant costs and expenses associated

with this motion. See Moore Decl. ¶ 4.




                                     5 208 Filed 03/31/22 Page 9 of 45
        Case 4:21-cv-00525-FJG Document
       12.    On or about December 29, 2021, GSL produced a document labeled GS LABS

00000002-A. GS LABS 00000002-A is marked as Exhibit A4.

       RESPONSE: Admit.

       13.    Exhibit A4 contains approximately 13,632 unique claims and $10,128,722 in

charges for services purportedly administered between November 28, 2020, and November 8,

2021. Exhibit A4

       RESPONSE: Admit.

       14.    Exhibit A4 includes a “primary diagnosis code” for each of the claims and over

99% of the codes supplied are Z20.822 or Z20.828.1

       RESPONSE:        GS Labs admits SOF ¶ 14 to the extent it is accurate and not

inconsistent with the data and information reflected in MPSJ Exhibit A4, as the document

produced speaks for itself. GS Labs objects to the footnote added to Blue KC’s SOF ¶ 14,

which requests the Court “take judicial notice of the transaction of these codes.” It is not

clear what Blue KC means by taking notice of the “transaction of these codes.” Further, GS

Labs objects to the manner in which Blue KC seeks judicial notice and requests Blue KC

identify exactly what information it seeks to have the Court take notice of so that GS Labs

can properly respond. GS Labs further responds to Blue KC’s footnote by referencing and

referring the Court to the Centers for Disease Control and Prevention’s (“CDC”) ICD-10-

CM     Official    Guidelines   for   Coding     and    Reporting     FY2022,     available    at

https://www.cms.gov/files/document/fy-2022-icd-10-cm-coding-guidelines-updated-


       1
         Blue KC requests the court take judicial notice of the transaction of these codes. These
codes were implemented by the Centers for Disease Control and Prevention’s National Center for
Health Statistics. See generally, https://www.cdc.gov/nchs/data/icd/Announcement-New-ICD-
code-for-coronavirus-19-508.pdf and https://www.cdc.gov/nchs/data/idc/COVID-19-guidelines-
final.pdf (last visited March 7, 2022).



       Case 4:21-cv-00525-FJG Document6 208 Filed 03/31/22 Page 10 of 45
02012022.pdf. As set forth in GS Labs’ SOAF, numerous federal departments and agencies

have noted that “Category Z20 indicates contact with, and suspected exposure to,

communicable diseases,” and that “[t]hese codes are for patients who are suspected to have

been exposed to a disease by close personal contact with an infected individual or are in an

area where a disease is epidemic.” Id. 88 (emphasis added).

       15.    On or about February 4, 2022, GSL produced GS LABS 00000002-B. GS LABS

00000002-B is marked as Exhibit A5.

       RESPONSE: GS Labs admits that on or about January 31, 2022, GS Labs produced

a supplemental clams data summary spreadsheet titled GS LABS 00000002-B AR Detail

BCBS KS, which is marked as MPSJ Exhibit A5. This was produced as part of GSL014 (Jan.

31, 2022 Production). GS Labs controverts SOF ¶ 15 to the extent it states GS LABS

00000002-B was produced on February 4, 2022.

       16.    Specifically, Exhibit A5 contains approximately 20,473 unique claims and

$13,056,082 in charges for services purportedly administered between November 28, 2020, and

January 10, 2022. Exhibit A5.

       RESPONSE: Admit.

       17.    Unlike GS LABS 00000002-A, GS LABS 00000002-B does not include a column

identifying primary diagnosis code. Compare Exhibit A4 with Exhibit A5.

       RESPONSE: Admit.

       18.    GSL has also produced reimbursement claim forms (“Form 1500s”) that include

claim information such as patient name, date of purported service, and diagnostic code. Examples

are attached and marked as Exhibits A6, A7, A8, A9, A10, A11.




       Case 4:21-cv-00525-FJG Document7 208 Filed 03/31/22 Page 11 of 45
       RESPONSE: Admit. GS Labs further states that the Form 1500 also includes the

patient’s address, patient’s date of birth, sex, patient relationship to the insured, insured’s

identification number, insured’s name, insured’s address, insured’s policy group number,

insured’s dated of birth, referring provider, diagnosis codes, dates of service, place of service,

services provided (with identifying CPT codes), charges, rendering provider identification,

tax identification number for provider, patient account number, billing provider, and name

and address of facility location. See MPSJ Exhibits A6, A7, A8, A9, A10, A11.

       19.     Blue KC estimates that GSL has produced corresponding consent and intake forms

and test results for only approximately 13% of the claims identified on GSL’s most recent claim

summary (GS LABS 00000002-B). Exhibit A & Exhibit A27.

       RESPONSE: GS Labs admits that Blue KC’s estimate based on the information cited

in SOF ¶ 19 appears to be correct, but denies SOF ¶ 19 to the extent it is inconsistent with

the documents produced to date. As set forth in GS Labs’ SOAF, GS Labs has agreed to

produce the remaining medical records prior to the close of discovery. See SOAF ¶ 28.

       20.     With respect to the limited number of consent and intake forms produced by GSL

in this litigation, those records contain material information inconsistent with the claim forms and

summary claim data GSL produced. See infra ¶¶ 21-28.

       RESPONSE: GS Labs controverts SOF ¶ 20 as inaccurate, incomplete, and

misleading. The basis for Blue KC’s contention that GS Labs’ records “contain material

information inconsistent with the claim forms and summary claim data” is misguided and

reflects either a complete oversight or material misunderstanding of the applicable law and

regulations. GS Labs’ data and evidence is reliable and is consistent with the guidance

provided by the Departments of Labor, Health, and Human Services (“HHS”) and the




       Case 4:21-cv-00525-FJG Document8 208 Filed 03/31/22 Page 12 of 45
Treasury, U.S. Department of Health and Human Services (“DHHS”), and other industry

and agency guidance as set forth in SOAF ¶¶ 8–12.

       21.    Blue KC’s retained expert, R. Garrison Harvey, estimated that 47% of patient intake

and consent forms produced by GSL contains diagnostic information inconsistent with the

corresponding Form 1500’s and the summary billing data. Exhibit A12, pg. 45-46.

       RESPONSE: GS Labs admits that R. Garrison Harvey states in his expert report

that based on “a preliminary investigation using a random sample of patient intake forms,”

that he “estimate[s] that about 47 percent of the intake forms show that the patient self-

reported no suspected exposure to COVID-19 despite the fact that 99.9 percent of the

associated claims include exposure-to-COVID-19 coding.” Exhibit A12, ¶ 111 (footnote

omitted). GS Labs notes that Mr. Harvey’s estimate on the distribution of primary diagnosis

codes is limited to GS Labs’ “December production of [] claims data.” Id. ¶ 108. Mr. Harvey

emphasizes that the data on which he relies is “inadequate for a simple and complete

investigation of the number of cases where the claims show a patient has potentially been

exposed to COVID-19 but that claim is contradicted by the self-reported information.” Id.

¶ 111. GS Labs, therefore, denies the accuracy of Mr. Harvey’s estimates to the extent they

are inconsistent with the data and evidence produced to date and to the extent even he admits

such estimates are “preliminary” and based on complete information.

       22.    By way of example only, the following table summarizes a small subset of the

documents produced:

       RESPONSE: GS Labs controverts SOF ¶ 22. As shown in the modified table below,

GS Labs specifically responds to each claim identified in Blue KC’s table to note instances




       Case 4:21-cv-00525-FJG Document9 208 Filed 03/31/22 Page 13 of 45
       in which the identified patients indicated experiencing COVID-19 symptoms and/or seeking

       the COVID-19 test for diagnostic purposes. See GS Labs’ Modified Table.

                                                                           GS LABS’ RESPONSE
 Patient     Diagnosis Code    Diagnostic    Translation of Diagnostic   Did patient report contact with
 Initials    Used by GSL on    Code Used       Code Used by GSL on         a COVID-19 patient on the
              the GS LABS      by GSL on        Form 1500 and GS            consent and intake form?
               00000002-a      Form 1500        LABS 00000002-a
S.C.         Z20.822          Z20.822        Contact      with    andPatient acknowledged that
                                             (suspected) exposure to patient was seeking a
                                             COVID-19 or are in an   diagnostic test indicating that
                                             area where a disease is patient was “experiencing
                                             epidemic                COVID-19 symptoms or have
                                                                     had a potential exposure to
                                                                     Covid-19 to quality for a
                                                                     medically necessary diagnostic
                                                                     test.” MPSJ Exhibit A13.
R.F.         Z20.822          Z20.822        Contact     with    and Patient noted suffering from
                                             (suspected) exposure to muscle and body aches. MSPJ
                                             COVID-19 or are in an Exhibit A14.
                                             area where a disease is
                                             epidemic                Further, patient acknowledged
                                                                     that patient was seeking a
                                                                     diagnostic test indicating that
                                                                     patient was “experiencing
                                                                     COVID-19 symptoms or have
                                                                     had a potential exposure to
                                                                     Covid-19 to quality for a
                                                                     medically necessary diagnostic
                                                                     test.” MPSJ Exhibit A14.
E.H.         Z20.822          Z20.822        Contact     with    and Patient noted sore throat and
                                             (suspected) exposure to loss of taste or smell. MPSJ
                                             COVID-19 or are in an Exhibit A15.
                                             area where a disease is
                                             epidemic                Further, patient acknowledged
                                                                     that patient was seeking a
                                                                     diagnostic test indicating that
                                                                     patient was “experiencing
                                                                     COVID-19 symptoms or have
                                                                     had a potential exposure to
                                                                     Covid-19 to quality for a
                                                                     medically necessary diagnostic
                                                                     test.” MPSJ Exhibit A15.
A.H.         Z20.828          Z20.828        Contact     with    and No.
                                             (suspected) exposure to



                                           10208 Filed 03/31/22 Page 14 of 45
              Case 4:21-cv-00525-FJG Document
                                                                           GS LABS’ RESPONSE
 Patient     Diagnosis Code     Diagnostic   Translation of Diagnostic   Did patient report contact with
 Initials    Used by GSL on     Code Used      Code Used by GSL on         a COVID-19 patient on the
              the GS LABS       by GSL on       Form 1500 and GS            consent and intake form?
               00000002-a       Form 1500       LABS 00000002-a
                                             COVID-19 or are in an
                                             area where a disease is
                                             epidemic
Q.O.         Z20.822           Z20.822       Contact      with    and    Patient noted runny nose as a
                                             (suspected) exposure to     symptom. MPSJ Exhibit A17.
                                             COVID-19 or are in an
                                             area where a disease is Further, patient acknowledged
                                             epidemic                that patient was seeking a
                                                                     diagnostic test indicating that
                                                                     patient was “experiencing
                                                                     COVID-19 symptoms or have
                                                                     had a potential exposure to
                                                                     Covid-19 to quality for a
                                                                     medically necessary diagnostic
                                                                     test.” MPSJ Exhibit A17.
T.S.         Z20.822           Z20.822       Contact     with    and Patient noted symptoms,
                                             (suspected) exposure to including a runny nose and
                                             COVID-19 or are in an fatigue.
                                             area where a disease is
                                             epidemic                Further, patient acknowledged
                                                                     that patient was seeking a
                                                                     diagnostic test indicating that
                                                                     patient was “experiencing
                                                                     COVID-19 symptoms or have
                                                                     had a potential exposure to
                                                                     Covid-19 to quality for a
                                                                     medically necessary diagnostic
                                                                     test.” MPSJ Exhibit A18.


       Compare Summary Claim Data Exhibit A4, Form 1500 Exhibits A6, A7, A8, A9, A10, A11 with

       Intake and Consent Form Exhibits A13, A14, A15, A16, A17, A18.




                                           11208 Filed 03/31/22 Page 15 of 45
              Case 4:21-cv-00525-FJG Document
       23.      For example, Patient S.C.’s consent and intake form and the associated Form 1500

contain the following:2 [picture removed].

       RESPONSE: GS Labs does not controvert or dispute the portion of SOF ¶ 23 copied

from the Form 1500 or the answer to the one question Blue KC pulled from the GS Labs

consent and intake as set forth in this statement, but notes that this information provides an

incomplete and misleading picture of the facts. GS Labs notes that Patient S.C.’s records

also contained the following information:




       24.      Similarly, the diagnostic code on the summary claims data is inconsistent with

S.C.’s medical records. See Exhibit A4, line 34888-34890.

       RESPONSE: GS Labs controverts that this data demonstrates the diagnostic code is

inconsistent with S.C.’s medical records. The diagnostic code reflected on GS Labs’

summary claims data is Z20.822, which is used for asymptomatic individuals with actual or

suspected exposure to COVID-19. As noted above in response to SOF ¶ 23, Patient S.C.

acknowledged Covid-19 symptoms or had potential exposure to Covid-19.




See MPSJ Exhibit A13.




       2
           An arrow highlights the diagnosis code. That arrow does not appear in the original.



                                    12208 Filed 03/31/22 Page 16 of 45
       Case 4:21-cv-00525-FJG Document
       25.     Beyond these discrepancies, GSL has also produced Form 1500s for patients that

are not identified on Exhibit A4.

       RESPONSE: GS Labs controverts and objects to SOF ¶ 25’s use of the vague phase,

“[b]eyond these discrepancies,” specifically denies any discrepancies, and refers the Court

to GS Labs’ preceding responses and SOAF. See, e.g., GS Labs’ Response to SOF ¶¶ 22–24;

SOAF ¶¶ 8–12. GS Labs admits that has produced Form 1500s in response to Blue KC’s

requests for production and as ordered by the Court. Further GS Labs has produced a

revised summary claims data worksheet, which includes information for these patients. See

SOAF ¶ 22. Further, as it relates to Form 1500s that are not included in the summary claims

data worksheets, those “discrepancies” are a product of Blue KC’s request for claims

information related to Blue Card and the National Alliance program, which would not have

been included in GS Labs’ AR Detail Report for Blue KC. See GS Labs’ Resp. to SOF ¶ 26.

       26.     As an example, GSL produced the following Form 1500s in this litigation which

do not appear on Exhibit A4.

               a.     GS LABS 00074526. Exhibit A19.

       RESPONSE: GS Labs admits that the patient identified on A19 was not originally

included in GS Labs’ accounts receivable from Blue KC. As noted on the Form 1500 for this

patient, this claim was submitted to BCBS of Missouri. See MPSJ Exhibit A19.

               b.     GS LABS 00074507. Exhibit A20.

       RESPONSE: GS Labs admits that the patient identified on A20 was not originally

included in GS Labs’ accounts receivable from Blue KC. As noted on the Form 1500 for this

patient, this claim was submitted to BCBS of Missouri. See MPSJ Exhibit A20.

               c.     GS LABS 00074493. Exhibit A21.




                                    13208 Filed 03/31/22 Page 17 of 45
       Case 4:21-cv-00525-FJG Document
       RESPONSE: GS Labs admits that the patient identified on A21 was not originally

included in GS Labs’ accounts receivable from Blue KC. As noted on the Form 1500 for this

patient, this claim was submitted to BCBS of Missouri. See MPSJ Exhibit A21.

       27.    The intake and consent forms associated with each of these Form 1500s was

produced and bates labeled:

       a.     GS LABS 00074522. Exhibit A22.

       b.     GS LABS 00074502. Exhibit A23.

       c.     GS LABS 00074489. Exhibit A24.

       RESPONSE: Admit.

       28.    Eric Rubenstein discusses the significance of false or inconsistent information in

claim information in his report dated March 1, 2022. Exhibit A25, pg. 7 & 27-28.

       RESPONSE: Admit.

       29.    Several witnesses with firsthand knowledge of GSL’s operations reported frequent

serious problems with the administration of COVID-19 tests and GSL’s failure to deliver testing

results to patients. See generally declaration of KT Thiessen (Exhibit B) and Stacey Johnson-

Sweany (Exhibit C).

       RESPONSE: GS Labs controverts SOF ¶ 29 and denies that the underlying evidence

cited therein supports, or is capable of supporting, that there were “frequent and serious

problems with the administration of COVID-19 tests and GSL’s failure to deliver testing

results to patients,” which GS Labs specifically denies. As an initial matter, GS Labs objects

to Blue KC’s unsupported assertion that this statement is based on “[s]everal witnesses with

firsthand knowledge.” Blue KC relies on two declarations from former GS Labs employees—

neither of which was employed for longer than one month. See MPSJ Exhibit B ¶ 2; MPSJ




                                    14208 Filed 03/31/22 Page 18 of 45
       Case 4:21-cv-00525-FJG Document
Exhibit C ¶ 2. These declarations are not competent evidence to support Blue KC’s

contention. KT Thiessen states that she worked at GS Labs for approximately one month.

MPSJ Exhibit B ¶ 2 (“I worked for GS Labs . . . approximately from early December of 2020

to January of 2021.”). Stacey Johnson-Sweany states that she “worked for GS Labs . . . for

approximately three weeks in December 2020.” MPSJ Exhibit C ¶ 2 (emphasis added). GS

Labs intends to depose both KT Thiessen and Stacey Johnson-Sweany. However, when GS

Labs noticed these witnesses for deposition, Blue KC’s counsel indicated that he could not

provide an address for either witness. It is Blue KC’s burden to prove the competency of its

evidence, including that the evidence on which it relies can be presented in an admissible

form at trial. If Blue KC’s counsel lacks contact information for Ms. Thiessen and Ms.

Johnson-Sweany, and they are not available to testify at trial, the information in their

declarations is inadmissible. GS Labs intends to issues subpoenas to both KT Thiessen and

Stacey Johnson-Sweany to demonstrate the unreliability of their statements.

       30.    Ms. Thiessen, a former assistant site manager at GSL’s Lee’s Summit facility,

reported:

       I observed many instances - at least weekly and potentially more - where one
       person’s results were mixed up with another person's results. On many occasions
       one person’s results were mixed up and placed in the wrong person’s file. Other
       times, incorrect results were accidently marked on the records. Customers called
       frequently about results not being sent on all three types of tests or the wrong
       person's results being delivered.


Exhibit B.

       RESPONSE: GS Labs admits that Ms. Thiessen executed a declaration to this effect

based on her approximately one-month employment at GS Labs. However, for the reasons

set forth in GS Labs’ Response to SOF ¶ 29, Ms. Thiessen’s declaration is not competent




                                    15208 Filed 03/31/22 Page 19 of 45
       Case 4:21-cv-00525-FJG Document
evidence, especially given Blue KC’s counsel’s representation that he does not have an

address for Ms. Thiessen and Blue KC’s failure to carry its burden to demonstrate that Blue

KC could present this purported evidence in admissible form at trial.

         31.    Ms. Johnson-Sweany a former site manager at GSL’s Lee’s Summit facility

reported:

         I observed many serious problems with the administration of COVID-19 tests and delivery

of results at GS Labs. As an example, on many occasions one person’s results were mixed up and

placed in the wrong person’s file. Other times, incorrect results were accidently marked on the

records. Customers called frequently about results not being sent on all three types of tests or the

or the wrong person’s results being delivered . . . I observed problems with testing like those

described above approximately 10 times per day and believe they may have impacted many more

tests.

         Exhibit C.

         RESPONSE: GS Labs admits that Ms. Johnson-Sweany executed a declaration to

this effect based on her approximately three-week employment at GS Labs. However, for the

reasons set forth in GS Labs’ Response to SOF ¶ 29, Ms. Johnson-Sweany’s declaration is

not competent evidence, especially given Blue KC’s counsel’s representation that he does not

have an address for Ms. Johnson-Sweany and Blue KC’s failure to carry its burden to

demonstrate that Blue KC could present this purported evidence in admissible form at trial.

         32.    An example of a GSL test result is included as Exhibit A26.

         RESPONSE: GS Labs admits that MPSJ Exhibit A26 is an example of a GS Labs

test result. It is important to note that MPSJ Exhibit A26 contains two test results for a

patient who was tested at GS Labs’ Lee’s Summit, Missouri testing site, CLIA #: 26D2205929




                                      16208 Filed 03/31/22 Page 20 of 45
         Case 4:21-cv-00525-FJG Document
- a COVID-19 lgG/lgM Antibody Test and COVID-19 Rapid Antigen Test. See MPSJ Exhibit

A26.




                                    17208 Filed 03/31/22 Page 21 of 45
       Case 4:21-cv-00525-FJG Document
              GS LABS’ STATEMENT OF ADDITONAL MATERIAL FACTS

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1(b)(2), GS Labs

offers the following Statement of Additional Material Facts (“SOAF”).

            The COVID-19 Pandemic and Federal Laws and Regulations Requiring
           Blue KC to Reimburse GS Labs for COVID-19 Diagnostic Testing Services

       1.       The World Health Organization (“WHO”) declared the novel coronavirus

(COVID-19) outbreak a global pandemic on March 11, 2020. See World Health Organization,

WHO Director-General’s opening remarks at the media briefing on COVID-19-11 March 2020.3

       2.       Congress enacted the FFCRA on March 18, 2020, in response to the unprecedented

COVID-19 pandemic and public health emergency. In an effort to encourage COVID-19 testing

to help slow the virus, Section 6001 of the FFCRA requires group health plans and health issuers,

like Blue KC, to provide benefits for certain items and services related to COVID-19 testing

without imposing cost-sharing, prior authorization, or other medical management requirements.

FFCRA, Pub. L. No. 116-127, § 6001(a), 134 Stat. 178 (2020) (providing health insurance issuer

“shall provide coverage . . . [for] [i]n vitro diagnostic products . . . for the detection of SARS-

CoV-2 or the diagnosis of the virus that causes COVID-19 . . . and the administration of such in

vitro diagnostic products”).

       3.       On March 27, 2020, Congress enacted the CARES Act, which amended Section

6001 to include coverage for a broader range of diagnostic items and services. See CARES Act,

Pub. L. No. 115-136, § 3201, 134 Stat. 281 (2020). It also required reimbursement of diagnostic

testing at the “cash price for such service as listed by the provider on a public internet website”



       3
        Available at https://www.who.int/director-general/speeches/detail/who-director-general-
s-opening-remarks-at-the-media-briefing-on-covid-19---11-march-2020?msclkid=882559b9b14
e11eca155f6e450ed7520.



                                    18208 Filed 03/31/22 Page 22 of 45
       Case 4:21-cv-00525-FJG Document
unless the parties agree to a different negotiated rate. Id. § 3202(a).

       4.      GS Labs provided diagnostic COVID-19 testing services to Blue KC members. See

Moore Decl. ¶¶ 3, 5–6, 10–11, 13–14, 16–17.

       5.      Blue KC is required to reimburse GS Labs for in vitro COVID-19 diagnostic testing

provided to members as set forth in the FFCRA and CARES Act. See FFCRA § 6001(a); CARES

Act § 3201.

       6.      Blue KC has refused, and continues to refuse, to reimburse GS Labs, for in vitro

COVID-19 diagnostic testing provided to Blue KC’s members as required under the FFCRA and

CARES Act. See Moore Decl. ¶ 16.

       7.      Blue KC objects to the publicly posted price GS Labs charges for its COVID-19

testing services, contending GS Labs “demand[s] facially excessive reimbursement rates for

COVID-19 testing.” Blue KC MTD, 1.

       8.      HHS and the Treasury (collectively, the “Departments”) have stated that plans and

issuers “cannot require the presence of symptoms or a recent known or suspected exposure, or

otherwise impose medical screening criteria on coverage of tests.” FAQS About [FFCRA] and

[CARES Act] Implementation Part 44, U.S. DEP’T OF HEALTH & HUMAN SERVS. 2 (Q1) (Feb. 26,

2021), https://www.cms.gov/cciio/resources/fact-sheets-and-faqs (hereinafter “FAQs, Part 44”).

       9.      The Departments issued the following publicly available FAQ regarding COVID-

19 diagnostic testing for asymptomatic patients with no known or suspected exposure to COVID-

19:

       Q1. Under the FFCRA, can plans and issuers use medical screening criteria to
       deny (or impose cost sharing on) a claim for COVID-19 diagnostic testing for
       an asymptomatic person who has no known or suspected exposure to COVID-
       19?




                                     19208 Filed 03/31/22 Page 23 of 45
        Case 4:21-cv-00525-FJG Document
        No. The FFCRA prohibits plans and issuers from imposing medical management,
        including specific medical screening criteria, on coverage of COVID-19 diagnostic
        testing. Plans and issuers cannot require the presence of symptoms or a recent
        known or suspected exposure, or otherwise impose medical screening criteria on
        coverage of tests.

        When an individual seeks and receives a COVID-19 diagnostic test from a licensed
        or authorized health care provider, or when a licensed or authorized health care
        provider refers an individual for a COVID-19 diagnostic test, plans and issuers
        generally must assume that the receipt of the test reflects an “individualized clinical
        assessment” and the test should be covered without cost sharing, prior
        authorization, or other medical management requirements.

        This FAQ clarifies the Departments’ guidance in FAQs Part 43, Q5, with respect
        to the testing of asymptomatic individuals with no known or suspected exposure to
        COVID-19. This FAQ does not modify previous guidance addressing coverage of
        testing for groups of asymptomatic employees or individuals with no known or
        suspected recent exposure to COVID-19, such as for public health surveillance or
        employment purposes (see Q2 below).

        State and local public health authorities retain the authority to direct providers to
        limit eligibility for testing based on clinical risk or other criteria to manage testing
        supplies and access to testing. Responsibility for implementing such state or local
        limits on testing falls on attending health care providers, not on plans and issuers.
        Plans and issuers may not use such criteria to deny (or impose cost sharing on) a
        claim for COVID-19 diagnostic testing.

FAQs, Part 44, 2–3 (Q1) (footnotes omitted).

        10.     The DHHS provides guidelines for coding and reporting using the International

Classification of Diseases (ICD-10-CM), which are available on the CDC’s National Center for

Health Statistics’ website. See ICD-10-CM Official Guidelines for Coding and Reporting FY2022

– UPDATED April 1, 2022 (October 1, 2021 – September 30, 2022), NAT’L HEALTH CTR. FOR

HEALTH STATISTICS, https://www.cms.gov/files/document/fy-2022-icd-10-cm-coding-guidelines-

updated-02012022.pdf (hereinafter, “ICD-10-CM Guidelines FY2022”). “The ICD-10-CM is a

morbidity classification published by the United States for classifying diagnoses and reason for

visits in all health care settings.” Id. 1.

        11.     The DHHS states: “Category Z20 indicates contact with, and suspected exposure



                                     20208 Filed 03/31/22 Page 24 of 45
        Case 4:21-cv-00525-FJG Document
to, communicable diseases. These codes are for patients who are suspected to have been exposed

to a disease by close personal contact with an infected individual or are in an area where a disease

is epidemic.” Id. at 88.4 ICD-10-CM Guidelines FY2022, 88

       12.      Consistent with these guidelines, the American Hospital Association’s Central

Office on ICD-10-CM/PCS Coding for COVID-19 and the American Health Information

Management Association (“AHIMA”) has provided the following specific guidance for testing

codes related to COVID-19 encounters:

       For encounters for COVID-19 testing, including preoperative testing, code as
       exposure to COVID-19 (code Z20.828 for encounters prior to January 1, 2021 or
       code Z20.822, Contact with and (suspected) exposure to COVID-19, for encounters
       after January 1, 2021). The ICD-10-CM Official Guidelines for Coding and
       Reporting state that codes in category Z20, Contact with and (suspected) exposure
       to communicable diseases, are for patients who are suspected to have been exposed
       to a disease by close personal contact with an infected individual or are in an area
       where a disease is epidemic.

Frequently Asked Questions Regarding ICD-10-CM/PCS Coding for COVID-19, Revised August
27, 2021, AHA & AHIMA 14 (Q38) (Mar. 20, 2020), https://www.aha.org/fact-sheets/2020-03-
30-frequently-asked-questions-regarding-icd-10-cm-coding-covid-19?msclkid=163178bfb15511
ecb8726dd27276888c (emphasis added).

             GS Labs Document Productions “To Date” Support Its Counterclaims

       13.      As set forth in more detail below, GS Labs has produced, and is continuing to

produce, documents that support its counterclaims and demonstrate GS Labs is entitled to

reimbursement pursuant to the FFCRA and the CARES Act for diagnostic COVID-19 testing

services provided to Blue KC members. These documents include: (1) HCFA 1500 Initial Claim

Forms, (2) claims data spreadsheets, (3) Explanation of Benefits (“EOB”) or remittance

documentation reflecting payment or denial or payment from Blue KC, and (4) medical intake and



       4
         Prior  versions    of    the   ICD-10-CM     Guidelines   are   available                at
https://www.cdc.gov/nchs/icd/icd10cm.htm?msclkid=e13981fab13b11ecaaab4bbb160dc07c.



                                    21208 Filed 03/31/22 Page 25 of 45
       Case 4:21-cv-00525-FJG Document
consent forms. Moore Decl. ¶ 3.

       HCFA 1500 Insurance Claim Forms

       14.       GS Labs initially produced 13,372 HCFA 1500 Claim Forms on November 15,

2021. Id. ¶ 5.

       15.       On March 28, 2022, GS Labs provided an updated set of 27,895 HCFA 1500 Claim

Forms for all claims submitted to Blue KC based on COVID-19 testing services provided since

GS Labs’ inception through February 2022. Id. ¶ 6.

       16.       The HCFA Insurance Claim Form 1500s include, among other things, data

reflecting the patient’s name, date of service, and diagnostic code. Id. ¶ 7.

       17.       The diagnostic codes may indicate, among other things, whether a patient had

contact with, and suspected exposure to, a communicable disease, such as from close personal

contact with an infected individual or being in an area where the disease is epidemic. Id. ¶ 8.

       Claims Data Spreadsheets

       18.       On October 27, 2021, GS Labs produced a summary of its claims data titled GS

LABS 00000002 AR Details – BCBS KC CONFIDENTIAL as part of its Rule 26 Disclosures.

Id. ¶ 10. This claims data spreadsheet contains a summary of 13,360 of the claims submitted to

Blue KC. Id. The claims data includes insurance policy number, patient name, patient date of birth,

claim number, date of service, CPT code for the COVID-19 tests provided, and charges for these

services provided. Id.

       19.       On December 29, 2021, GS Labs produced an updated spreadsheet titled GS LABS

00000002-A AR Detail - BCBS KC CONFIDENTIAL. Id. ¶ 11.This spreadsheet contains a

summary of the claims data for the 13,632 claims GS Labs submitted to Blue KC for payment

related to COVID-19 testing received by Blue KC members between November 28, 2020, and




                                     22208 Filed 03/31/22 Page 26 of 45
        Case 4:21-cv-00525-FJG Document
November 8, 2021. Id. The GS LABS 00000002-A spreadsheet includes the same data as set forth

above, but also includes data reflecting the place of service and the primary diagnosis code. Id.

       20.     The claims data spreadsheets produced are based on a standard report prepared in

GS Labs’ ordinary course of business entitled “AR Detail.” Id. ¶ 12. At Blue KC’s request, this

standard report was modified to include data reflecting the diagnosis code and place of service. Id.

       21.     On January 31, 2022, GS Labs produced a supplemental clams data summary

spreadsheet titled GS LABS 00000002-B AR Detail BCBS KS, reflecting newly filed claims and

filing corrections. Id. ¶ 13. This spreadsheet is a summary of the claims data for the 20,473 claims

GS Labs submitted to Blue KC for payment related to COVID-19 testing received by Blue KC

members between November 28, 2020, and January 10, 2022. Id.

       22.     GS LABS 00000002-B was based on GS Labs’ standard “AR Detail” report and

inadvertently omitted Plaintiff’s requested modifications to that report. Id. ¶ 14. A supplemental

report, including Plaintiff’s requested data modifications, was produced on March 29, 2022. Id.

       EOB and Remittance Documentation

       23.     GS Labs produced EOBs and remittance documents reflecting Blue KC’s payment

or denial of payment for the claims at issue on the following dates: (1) October 27, 2021, (2)

November 15, 2021, (3) January 11, 2022, and (4) February 11, 2022. Id. ¶ 16.

       Medical Records

       24.     GS Labs has produced 17,990 medical records, including medical intake and

consent forms and COVID-19 testing results. Id. ¶ 18. As discussed, and as further described in

GS Labs’ discovery response, in order to comply with Blue KC’s requests, GS Labs has had to

manually request each record and print them on an individual record-by-record basis. Id.

       25.     In its discovery response to Request for Production No. 4 (RFPD #4), GS Labs




                                    23208 Filed 03/31/22 Page 27 of 45
       Case 4:21-cv-00525-FJG Document
explained these limitations to Blue KC. Id. ¶ 19; MPSJ Exhibit A3 (RFPD #4). GS Labs objected

to RFPD #4 as overly burdensome and not proportional to the needs of the case, citing this “time-

consuming process” and GS Labs’ position that requiring such documentation is neither allowable

nor proper under the FFCRA and CARES Act. Id.

        26.    Notwithstanding, GS Labs has continued to explore economical options for

providing this information to Blue KC, which includes approximately 20,000 patient records. Id.

¶ 20.

        27.    GS Labs recently received an estimate from a reliable vendor of $20,000 to identify

and compile the medical records Blue KC requests and prepare them in a form that can be securely

produced. Id. ¶ 21.

        28.    GS Labs has agreed to produce the medical records that Blue KC demands related

to Blue KC’s beneficiaries, including patient consent forms and COVID-19 test results. Id. Based

on GS Labs’ vendor’s estimate, GS Labs anticipates it will be able to complete this production by

April 20, 2022, prior to the close of discovery. Id. ¶ 22.

                      GS Labs Document Productions Are Ongoing, and
                        Discovery Does Not Close Until May 15, 2022

        29.    Fact discovery in this case is ongoing and is scheduled to close on May 15, 2022.

Doc. 116.

        30.    GS Labs is actively engaged in discovery. Moore Decl. ¶ 25. It has produced, and

is continuing to produce, responsive documents and information capable of supporting its

counterclaims. Id. ¶ 25.

        31.    GS Labs has already produced, or has agreed to produce, the documents Blue KC

identifies in its MPSJ. Id. ¶¶ 5–6, ¶¶ 10–14, ¶ 16, ¶ 25; see also MPSJ 10–11 (noting GS Labs’

agreement to produce these documents).



                                     24208 Filed 03/31/22 Page 28 of 45
        Case 4:21-cv-00525-FJG Document
        32.   These documents are voluminous and contain highly personal and sensitive

information. Moore Decl. ¶ 25; see also ¶¶ 5–6, ¶¶ 10–14, ¶ 16.

        33.   GS Labs’ productions have required extensive time and financial investment. Id.

¶ 25.




                                     25208 Filed 03/31/22 Page 29 of 45
        Case 4:21-cv-00525-FJG Document
                                           SUMMARY

        Blue KC’s Motion for Partial Summary Judgment (“MPSJ”) (Doc. 192) attempts to

improperly short circuit this Court’s discovery process and prematurely force GS Labs to produce

its remaining discovery in advance of the May 15, 2022 discovery cut-off date. For the reasons set

forth below, Blue KC’s MPSJ is improper, fails to carry Blue KC’s initial burden, is facially

deficient under Federal Rule of Civil Procedure 56 and Local Rule 56.1, and should be denied in

its entirety.

        Blue KC may not use its MPSJ as a substitute for discovery or to prematurely force GS

Labs to produce evidence supporting its counterclaims. Summary judgment is appropriate only

where, after an adequate time for discovery, the moving party can demonstrate that the nonmoving

party lacks sufficient evidence to establish the existence of an element essential to is claim and on

which the party will bear the burden of proof at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 323–

24 (1986). Blue KC fails to meet this burden.

        Blue KC points to nothing in the record to credibly support its contention that GS Labs

lacks sufficient evidence to support its counterclaims. Nor could it. GS Labs has produced, and is

continuing to produce, documents and evidence from which a reasonable jury could conclude GS

Labs is entitled to reimbursement from Blue KC under the FFCRA and CARES Act related to

diagnostic COVID-19 testing services provided to Blue KC members.

        Further, discovery in this case is actively ongoing and does not close until May 15, 2022.

Doc. 116. Blue KC provides no persuasive reason this Court should depart from the discovery cut-

off date identified in the First Amended Scheduling Order—especially given Blue KC’s

acknowledgment that GS Labs has agreed to produce the documents it identifies in its MPSJ.




                                     26208 Filed 03/31/22 Page 30 of 45
        Case 4:21-cv-00525-FJG Document
       For these reasons, the Court should deny the MPSJ in its entirety. Alternatively, pursuant

to Rule 56(d), GS Labs respectfully requests the Court defer its consideration of the MPSJ until

after the close of discovery when GS Labs will have had time to complete its document production

and address the issues outlined in the MPSJ. See Moore Decl. ¶¶ 24–27.

                      FACTUAL AND PROCEDURAL BACKGROUND

       GS Labs seeks payments improperly withheld by Blue KC for diagnostic COVID-19

testing services GS Labs provided to Blue KC members. Blue KC’s withholding of these payments

violates the FFCRA and CARES Act. See generally Countercl. [Doc. 4].

       Congress enacted the FFCRA on March 18, 2020, in response to the unprecedented

COVID-19 pandemic and public health emergency. SOAF ¶ 2. In an effort to encourage COVID-

19 testing to help slow the virus, Section 6001 of the FFCRA requires group health plans and

health issuers, like Blue KC, to provide benefits for certain items and services related to COVID-

19 testing without imposing cost-sharing, prior authorization, or other medical management

requirements. FFCRA, Pub. L. No. 116-127, § 6001(a), 134 Stat. 178 (2020) (providing health

insurance issuer “shall provide coverage . . . [for] [i]n vitro diagnostic products . . . for the

detection of SARS-CoV-2 or the diagnosis of the virus that causes COVID-19 . . . and the

administration of such in vitro diagnostic products”).

       On March 27, 2020, the CARES Act was enacted, which amended Section 6001 to include

coverage for a broader range of diagnostic items and services. See CARES Act, Pub. L. No. 115-

136, § 3201, 134 Stat. 281 (2020). It also required reimbursement of diagnostic testing at the “cash

price for such service as listed by the provider on a public internet website” unless the parties agree

to a different negotiated rate. Id. § 3202(a); see also SOAF ¶ 3.

       In connection with the COVID-19 diagnostic and related testing provided to Blue KC




                                     27208 Filed 03/31/22 Page 31 of 45
        Case 4:21-cv-00525-FJG Document
members, GS Labs timely submitted claims for payments to Blue KC and billed the cash price for

the relevant service publicly posted on GS Labs’ website, as permitted by the FFCRA and CARES

Act. Countercl. ¶ 81. Blue KC denied payment in full or in part on a substantial majority of GS

Labs’ claims, inaccurately described GS Labs’ rates as “facially excessive” and demanding

additional, unnecessary, and voluminous documentation to support GS Labs’ claims. Id. ¶¶ 82–

89, 92; see also MTD 1.

       Blue KC’s refusal to pay GS Labs’ claims violates the FFCRA and CARES Act. Federal

agency guidance interpreting the FFCRA and CARES Act (hereinafter the “FAQs”) confirms that

plans and issuers may not “use medical screening criteria to deny (or impose cost sharing on) a

claim for COVID-19 testing” for asymptomatic patients and “cannot require the presence of

symptoms or a recent known or suspected exposure, or otherwise impose medical screening

criteria on coverage of tests.” SOAF ¶¶ 8–9. Blue KC’s suggestion to the contrary is based on an

earlier FAQ that does not stand for the proposition Blue KC cites. See MPSJ 7.5




       5
        Departmental guidance does not, as Blue KC contends, provide that “tests administered
on patients without symptoms of COVID-19 or exposure to another person with COVID-19 are
not diagnostic and therefore, need not be reimbursed.” MPSJ at 7. To support this contention, Blue
KC relies on FAQs, Part 43 Q5 (June 23, 2020), which explains that insurers are not required to
cover testing for “surveillance,” “general workplace health and safety,” and “any other purposes
not primarily intended for individualized diagnosis or treatment of COVID-19.” FAQS About
[FFCRA] and [CARES Act] Implementation Part 43, U.S. DEP’T OF HEALTH & HUMAN SERVS. 6
(Q5) (June 23, 2020), https://www.cms.gov/cciio/resources/fact-sheets-and-faqs. That FAQ does
not, however, define a diagnostic test, and GS Labs does not dispute that Blue KC’s FFCRA and
CARES Act reimbursement obligations are limited to diagnostic testing. In a later set of FAQs,
the Departments clarified that in covering diagnostic tests, plans and issuers “cannot require the
presence of symptoms or a recent known or suspected exposure, or otherwise impose medical
screening criteria on coverage of tests.” FAQs, Part 44 Q1 (emphasis added) (noting FAQs, Part
44, Q1 “clarifies the Departments’ guidance in FAQs Part 43, Q5, with respect to the testing of
asymptomatic individuals with no known or suspected exposure to COVID-19” (emphasis
added)). Contrary to Blue KC’s assertion, FAQs, Part 44 Q1 makes clear that COVID-19 testing
may be “diagnostic” even if a patient does not present symptoms or have a recent known or
suspected exposure. GS Labs submits that the documentation produced to date and GS Labs’


                                    28208 Filed 03/31/22 Page 32 of 45
       Case 4:21-cv-00525-FJG Document
       On July 20, 2021, Blue KC filed this lawsuit against GS Labs in an effort to escape its

obligation to pay for COVID-19 testing for Kansas and Missouri residents at the federally required

rates. See Doc. 1. GS Labs answered on August 5, 2021, and asserted various counterclaims related

to Blue KC’s violations of the FFCRA and CARES Act. Doc. 4. This MPSJ followed.

                              ARGUMENT AND AUTHORITIES

       A moving party is entitled to summary judgment only upon a showing that “there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). “After the parties have had adequate time for discovery, a movant will be

entitled to summary judgment ‘against a party who fails to make a showing sufficient to establish

the existence of an element essential to that party’s case, and on which that party will bear the

burden of proof at trial.” Bedford v. Doe, 880 F.3d 993, 996 (8th Cir. 2018) (quoting Celotex, 477

U.S. at 323–24).

       The moving party bears the initial burden of showing there are no genuine issues of

material fact. Id. It can satisfy this burden “in either of two ways: it can produce evidence negating

an essential element of the nonmoving party’s case, or it can show that the nonmoving party does

not have enough evidence of an essential element of its claim to carry its ultimate burden of

persuasion at trial.” Id. If a moving party does not satisfy its initial burden, the nonmoving party

has no obligation to produce any additional or supporting evidence, even if the nonmoving party

has the ultimate burden of persuasion at trial. Adickes v. S. H. Kress & Co., 398 U.S. 144, 160

(1970); Bedford, 880 F.3d at 996.

       Only if the party seeking summary judgment satisfies its initial burden does the burden




ongoing productions provide evidence from which a reasonable jury could conclude GS Labs’
claims are diagnostic in nature and therefore reimbursable.



                                     29208 Filed 03/31/22 Page 33 of 45
        Case 4:21-cv-00525-FJG Document
shift to the nonmoving party to demonstrate facts showing the presence of a genuine issue for trial.

Adickes, 398 U.S. at 160; Bedford, 880 F.3d at 997. When considering motions for summary

judgment, facts “must be viewed in the light most favorable to the nonmoving party.” Torgerson

v. City of Rochester, 643 F.3d 1031, 1042 (8th Cir. 2011) (en banc). A nonmoving party survives

a summary judgment motion if the evidence, viewed in the light most favorable to the nonmoving

party, is “such that a reasonable jury could return a verdict for the nonmoving party.” Stuart C.

Irby Co. v. Tipton, 796 F.3d 918, 922 (8th Cir. 2015) (quoting Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986)); see also Hughes v. Am. Jawa, Ltd., 529 F.2d 21, 23 (8th Cir. 1976)

(noting “the purpose of the rule is not to cut litigants off from their right of trial by jury if they

really have issues to try” (citation omitted)).

I.     Blue KC Has Failed to Meet Its Burden of Production Because It Fails to Show That
       GS Labs Lacks Sufficient Evidence to Support Its Counterclaims.

       Blue KC is not entitled to summary judgment on its MPSJ because it has not shown an

absence of evidence to support GS Labs’ counterclaims. Further, there has not been adequate time

for discovery, which is ongoing, and Blue KC provides no persuasive reason to depart from the

discovery cut-off date in the First Amended Scheduling Order.

       A.      Blue KC Does Not Point to an Absence of Evidence on an Essential Element of
               GS Labs’ Counterclaims.

       Blue KC does not point to an absence of evidence on an essential element of GS Labs’

counterclaims. Nor could it. GS Labs has produced documents and evidence from which a

reasonable jury could find GS Labs is entitled to reimbursement from Blue KC under the FFCRA

and CARES Act. See SOAF ¶¶ 13–24.

       The party seeking summary judgment “bears the initial responsibility of informing the

district court of the basis for its motion, and must identify the portions of the record it believes

demonstrate the absence of a genuine issue of material fact.” Bedford, 880 F.3d at 996 (noting



                                     30208 Filed 03/31/22 Page 34 of 45
        Case 4:21-cv-00525-FJG Document
movant “must identify the portion of the record” demonstrating the absence of a genuine dispute

of material fact); Fed. R. Civ. P. 56(c)(1)(A) (requiring party to cite “to particular parts of materials

in the record, including depositions, documents, electronically stored information, affidavits or

declarations, stipulations[,] . . . . admissions, interrogatory answers, or other materials”).

        The moving party may not satisfy its burden merely by asserting that the nonmovant lacks

evidence or has “not produced any evidence” to support an essential element of its claim. Nick's

Garage, Inc. v. Progressive Cas. Ins. Co., 875 F.3d 107, 115 (2d Cir. 2017); Nissan Fire & Marine

Ins. Co. v. Fritz Companies, Inc., 210 F.3d 1099, 1105 (9th Cir. 2000) (requiring more than

“simply . . . saying that the nonmoving party has no [] evidence”); Clark v. Coats & Clark, Inc.,

929 F.2d 604, 608 (11th Cir. 1991). (“Even after Celotex it is never enough simply to state that the

non-moving party cannot meet its burden at trial.”); see also 10A Fed. Prac. & Proc. Civ. § 2727.1,

at 491–92 (“[T]he party moving for summary judgment cannot sustain its burden ... merely by

asserting that the nonmovant lacks evidence to support its claim.”). Rather, the burden is

“discharged by ‘showing’—that is, pointing out to the district court—that there is an absence of

evidence to support the nonmoving party’s case.” Celotex, 477 U.S. at 325.6

        In Celotex, the movant satisfied this initial burden by directing the court to the plaintiff’s

interrogatory answer confirming that the plaintiff had no witnesses who could testify that her

husband had been exposed to asbestos during the statutory period it was manufactured by Celotex.

477 U.S. at 320, 328. Blue KC incorrectly suggests the same result is warranted here because “to



        6
         Justice White emphasized this same point in his concurring opinion. Id. at 328 (White, J.,
concurring) (“It is not enough to move for summary judgment . . . with a conclusory assertion that
he plaintiff has no evidence to prove his case.”). Justice Brennan agreed. Id. at 332 (Brennan, J.,
dissenting) (“Plainly, a conclusory assertion that the nonmoving party has no evidence is
insufficient. Such a ‘burden’ of production is no burden at all and would simply permit summary
judgment procedure to be converted into a tool for harassment.” (citation omitted)).



                                     31208 Filed 03/31/22 Page 35 of 45
        Case 4:21-cv-00525-FJG Document
date” GS Labs allegedly “has been unwilling or unable” to produce documents demonstrating it is

“entitled to reimbursement under FFCRA,” despite Blue KC’s document request for medical

records and other supporting documentation and GS Labs’ Rule 26(a) Disclosures identifying Blue

KC patient records and claims data as documents GS Labs may use to support its claims or

defenses. MPSJ 10–12; see also id. at 6 (alleging Blue KC’s reimbursement obligation is limited

to COVID-19 tests that were “actually performed” and “diagnostic”). But Celotex is materially

distinguishable from this case because GS Labs has produced evidence from which a jury could

reasonably conclude GS Labs is entitled to reimbursement under the FFCRA and CARES Act, and

discovery is ongoing.

               1.       GS Labs has produced evidence from which a reasonably jury could find
                        GS Labs is entitled to reimbursement from Blue KC.

       Blue KC’s allegation that GS Labs has failed to produce evidence demonstrating it is

entitled to reimbursement under the FFCRA is demonstrably false. GS Labs has produced

substantial supporting documentation. See SOAF ¶¶ 13–24. Nevertheless, Blue KC contends that

GS Labs’ documents “to date” are insufficient to substantiate its counterclaims because those

documents allegedly fail to establish that every COVID-19 testing claim submitted to Blue KC

was “actually performed” and “diagnostic” in nature. MPSJ 1, 6, 12. Not so.

       GS Labs has produced 17,990 medical records, including claim forms and intake and

consent forms, and it is continuing to produce these documents on a rolling basis as set forth in its

discovery response. SOAF ¶ 24. GS Labs has also produced 27,895 HCFA Claim Form 1500s,

which comprises all of the HCFA Claim Form 1500s submitted to Blue KC since GS Labs’

inception through the end of February 2022. Id. ¶ 15. These forms alone are sufficient evidence

from which a reasonable jury could find GS Labs is entitled to reimbursement from Blue KC.

       As Blue KC acknowledges, the HCFA Claim Form 1500s include claim information such




                                     32208 Filed 03/31/22 Page 36 of 45
        Case 4:21-cv-00525-FJG Document
as the patient’s name, date of service, and diagnostic code. MPSJ SOF ¶ 18; SOAF ¶ 16. The

diagnostic codes indicate, among other things, whether the patient had “contact with and

(suspected) exposure to communicable disease.” SOAF ¶ 12; see also id. ¶ 11, ¶ 17. The HCFA

Claim Form 1500s are competent evidence from which a reasonable jury could find that GS Labs

is entitled to reimbursement from Blue KC under the FFCRA and CARES Act. Bedford, 880 F.3d

at 997.

          Blue KC’s suggestion that GS Labs’ evidence is unreliable is both misguided and

insufficient to entitle it to summary judgment. See MPSJ 4. In an effort to undermine GS Labs’

evidence, Blue KC highlights ostensible inconsistencies between the HCFA Claim Forms’

diagnostic codes and the patient consent and intake forms to suggest GS Labs’ evidence is

inaccurate or misleading. MPSJ SOF ¶¶ 21–22 (identifying claims where the diagnostic code

indicates the patient had contact with and (suspected) exposure to COVID-19, despite an indication

on the consent and intake form the patient reported no contact with a COVID-19 patient), ¶ 28.7

          Blue KC’s analysis misses the mark for several reasons. First, “[w]hen an individual seeks

and receives a COVID-19 diagnostic test from a licensed or authorized health care provider, or

when a licensed or authorized health care provider refers an individual for a COVID-19 diagnostic

test, plans and issuers generally must assume that the receipt of the test reflects an ‘individualized

clinical assessment’ and the test should be covered without cost sharing, prior authorization, or

other medical management requirements.” SOAF ¶ 9 (emphasis added). Plans and issuers, like



          7
         Blue KC also submits that the HCFA Claim Form 1500s are unreliable because GS Labs
produced HCFA Claim Form 1500s for patients that are not identified in Exhibit A4. MPSJ SOF
¶¶ 25–26. These claims were not included in the GS Labs claims data because GS Labs did not
include these claims in its accounts receivable for Blue KC. See GS Labs’ Resp. to SOF ¶¶ 25–26.
The identified claim forms were produced as requested and required by the Court on February 2,
2022. See Doc. 115; see also GS Labs’ Resp. to SOF ¶¶ 25–26.



                                       33208 Filed 03/31/22 Page 37 of 45
          Case 4:21-cv-00525-FJG Document
Blue KC, may not “use medical screening criteria to deny (or impose cost sharing on) a claim for

COVID-19 diagnostic testing” for asymptomatic patients and “cannot require the presence of

symptoms or a recent known or suspected exposure, or otherwise impose medical screening

criteria on coverage of tests.” Id. Blue KC’s focus on whether patients were exposed to another

individual with COVID-19 is therefore misplaced.

       Second, Blue KC’s analysis ignores industry guidance for coding and reporting COVID-

19 testing encounters like those at issue here. Industry guidance encouraged testing centers to use

“Z20” codes for COVID-19 testing encounters, given COVID-19’s characterization as a global

pandemic. SOAF ¶ 1, ¶¶ 11–12. This guidance stated that “codes in category Z20, Contact with

and (suspected) exposure to communicable diseases, are for patients who are suspected to have

been exposed to a disease by close personal contact with an infected individual or are in an area

where a disease is epidemic.” Id. ¶ 12 (emphasis added); see also Id. ¶ 11. COVID-19’s

designation as a global pandemic signifies an even greater risk of spread and exposure than the

risks associated with an epidemic.8 See id. ¶ 1.

       This guidance also specifically instructed testing centers, like GS Labs, to code COVID-

19 testing encounters prior to January 1, 2021, as “Z20.828,” and encounters after January 2, 2021,

as “Z20.822.” Id. ¶ 12. Thus, contrary to Blue KC’s suggestion, the fact a patient may not have

reported contact with a COVID-19 patient on his or her consent and intake form does not render

either record unreliable. GS Labs’ data is reliable and sufficient to support GS Labs’ claims—



       8
         “Merriam-Weber defines “epidemic” to mean “affecting or tending to affect a
disproportionately large number of individuals within a population, community, or region at the
same time.” Epidemic, Merriam-Webster.com Dictionary (2022). It defines “pandemic” as
“occurring over a wide geographic area (such as multiple countries or continents) and typically
affecting a significant proportion of the population.” Pandemic, Merriam-Webster.com
Dictionary (2022).



                                     34208 Filed 03/31/22 Page 38 of 45
        Case 4:21-cv-00525-FJG Document
particularly at the summary judgment stage, as it falls squarely within the materials identified in

Rule 56(c) and is capable of being presented in an admissible form at trial. Fed. R. Civ. P. 56;

Moore Decl. ¶¶ 9, 15, 17, 23.

       Third, even if inconsistencies exist between the HCFA Claim Form 1500s and other

medical records GS Labs has produced, these purported inconsistencies do not provide a valid

basis for granting summary judgment. At most, they create a genuine issue of material fact, which

renders summary judgment inappropriate as a matter of law.9

       GS Labs has produced competent evidence from which a jury could reasonably conclude

GS Labs is entitled to reimbursement from Blue KC under the FFCRA and CARES Act, and Blue

KC offers no viable argument to the contrary.10

               2.      Blue KC cannot credibly contend it has satisfied its burden to show there is
                       an absence of evidence to support GS Labs’ counterclaims.

       Unlike in Celotex, Blue KC does not point to any materials in the record to credibly support

its contention “there is an absence of evidence to support” GS Labs’ counterclaims. Compare

Celotex, 477 U.S. at 320, 325, with MPSJ 10–12; see also Fed. R. Civ. P. 56(c)(1)(A) (stating party

may support its motion by “citing to particular parts of the materials in the record, including



       9
          As Blue KC acknowledges, GS Labs has produced other supporting information,
including summary claims data and patient intake and consent forms and other medical records.
Blue KC’s arguments regarding the reliability of these documents are unpersuasive for
substantially the same reasons as Blue KC’s HCFA Claim Form arguments. Supra p. 33–35.
Likewise, Blue KC’s suggestion that GS Labs must produce evidence in a form that is admissible
at trial in order to avoid summary judgment is incorrect. Celotex, 477 U.S. at 324 (“We do not
mean that the nonmoving party must produce evidence in a form that would be admissible at trial
in order to avoid summary judgment. . . . Rule 56[] permits a property summary judgment motion
to be opposed by any of the kind of evidentiary materials listed in Rule 56(c), except the mere
pleadings themselves . . .”).
       10
         GS Labs’ business records and other evidence are all admissible or capable of
presentment in an admissible form at trial. See Moore Decl. ¶¶ 9, 15, 17, 23; see also Fed. R. Evid.
803(6); Fed. R. Evid. 1006.



                                    35208 Filed 03/31/22 Page 39 of 45
       Case 4:21-cv-00525-FJG Document
depositions,   documents,     electronically   stored   information,    affidavits   or   declarations,

stipulations[,] . . . admissions, interrogatory answers, or other materials”).

       Blue KC’s repeated emphasis on GS Labs’ production to date is telling. MPSJ 1, 10, 12.

Discovery does not close until May 15, 2022, and Blue KC provides no reasonable basis to depart

from this deadline, especially given GS Labs’ agreement to produce the documents and evidence

identified in the MPSJ. See SOAF ¶¶ 24–28, ¶¶ 30–31; see also MPSJ 11 (noting GL Labs’

“agreement to produce records”). These facts materially distinguish this case from Celotex.

       Blue KC acknowledges that in response to its document request seeking “all medical

records . . . or other records or data collected or generated as a result of any Blue KC member’s

receipt of services from GSL,” GS Labs agreed, subject to the limitations set forth in its response,

to produce responsive documents on a “rolling” basis. MPSJ SOF ¶¶ 7–8; MPSJ Exhibit A3

(RFPD #4). Blue KC also highlights GS Labs’ Rule 26(a) Disclosures, indicating GS Labs’

intention to produce any Blue KC member patient records and claims data GS Labs may use to

support its claim or defenses. MPSJ ¶ 6. Blue KC does not suggest these documents do not exist

or that they are incapable of supporting GS Labs’ counterclaims. It simply insists it is taking GS

Labs too long to produce them. MPSJ 10–11.

       Blue KC’s arguments largely ignores GS Labs’ document productions to date, which

include the 27,895 HCFA Claim Form 1500s previously discussed, summary claims data

spreadsheets,11 and select patient intake and consent forms and other medical records. SOAF



       11
        The summary claims data spreadsheet is based on a standard report. SOAF ¶ 12. At Blue
KC’s request, this report was modified to include the diagnosis code and testing site. Id. However,
when GS Labs produced a supplemental report reflecting newly filed and correct claims, it was
produced in the standard format without Blue KC’s requested modifications. Id. ¶¶ 13–14; see also
MPSJ SOF ¶ 17. This inadvertent oversight was corrected, and a supplemental report containing
Blue KC’s requested modifications was provided to Blue KC on March 29, 2022. SOAF ¶ 14.



                                     36208 Filed 03/31/22 Page 40 of 45
        Case 4:21-cv-00525-FJG Document
¶¶ 13–15, ¶¶ 18–19, ¶¶ 21–24. GS Labs has produced and is continuing to produce these

documents on a rolling basis, consistent with the discovery cut-off date in the Court’s First

Amended Scheduling Order. See id. ¶¶ 28–31; see also Doc. 116 (“Close of discovery May 15,

2022”); MPSJ SOF ¶ 11.

       Blue KC nevertheless maintains GS Labs’ productions are too slow. It takes particular issue

with GS Labs’ incomplete consent and intake form production. MPSJ ¶ 19. But, as explained in

GS Labs’ response to Blue KC’s Request for Production, individual patient medical records must

be manually requested and printed on an individual basis. MPSJ Exhibit A3 (RFPD #4); SOAF

¶¶ 24–25. Given this “time-consuming process” and the fact the FFCRA and CARES Act render

these documents largely irrelevant, GS Labs objected to Blue KC’s request as both overly

burdensome and not proportional to the needs of the case. Id. Notwithstanding, GS Labs has

continued to explore economical options for providing this information to Blue KC. SOAF ¶ 26.

       GS Labs recently received an estimate from a reliable vendor of $20,000 to identify and

compile the medical records Blue KC requests and prepare those records in a form that can be

securely produced. Id. ¶ 27. Notwithstanding the fact that Blue KC’s demand for such information

is improper under the FFCRA and CARES Act,12 and relates to highly sensitive and personal

information, GS Labs has agreed to incur these disproportionate costs and produce these medical

records before the close of discovery. Id. ¶¶ 25–28.

       Blue KC’s complaint that GS Labs is taking too long to produce certain documents in its

possession is materially different than suggesting GS Labs “cannot present evidence to


       12
          Notably, other Blue Cross Blue Shield entities appear to acknowledge that requesting
medical records is not proper under the FFCRA and/or CARES Act, given their express limitations
on the same. See June 8, 2021 email between Highmark, Inc. and Blue KC (inquiring into “how
you [Blue KC] were able to request medical records and medical necessity concerns based on the
limitations of [the FFCRA and CARES] Acts”), attached as Exhibit 2 (filed under seal).



                                    37208 Filed 03/31/22 Page 41 of 45
       Case 4:21-cv-00525-FJG Document
substantiate” its counterclaims. To the extent Blue KC’s true aim is to expedite the discovery

process, Blue KC’s MPSJ is not the proper vehicle to accomplish that goal. See infra § I.B; see

also Nissan Fire, 210 F.3d at 1105 (“A moving party may not require the nonmoving party to

produce evidence supporting its claim or defense simply by saying that the nonmoving party has

no such evidence.”).

       Blue KC has not carried its initial burden under Rule 56 to demonstrate the absence of a

genuine dispute of material fact or that it is entitled to judgment as a matter of law. GS Labs is

therefore under no obligation to come forward with additional evidence to defeat Blue KC’s MPSJ,

and it should be denied in its entirety.

       B.      Blue KC’s MPSJ Is Premature Because There Has Not Been Adequate Time For
               Discovery and Blue KC Provides No Persuasive Reason to Depart from the
               Discovery Cut-Off Date in the First Amended Scheduling Order.

       Blue KC’s MPSJ should be denied for another reason: it is premature. As previously

discussed, a party moving for summary judgment cannot satisfy its Rule 56 burden “simply by

saying that the nonmoving party has no [] evidence.” Nissan Fire, 210 F.3d at 1105; see also Clark,

929 F.2d at 607 (“Even after Celotex it is never enough simply to state that the non-moving party

cannot meet its burden at trial.”). Nor can it “use a summary judgment motion as a substitute for

discovery.” Nissan Fire, 210 F.3d at 1105.

       It is only “after adequate time for discovery” that a moving party may be permitted to carry

its initial burden of production by showing an absence of evidence sufficient to support the

nonmoving party’s claims. Celotex, 477 U.S. at 322; Nissan Fire & Marine Ins. Co. v. Fritz

Companies, Inc., 210 F.3d 1099, 1105–06 (“The nonmoving party, of course, must have had

sufficient time and opportunity for discovery before a moving party will be permitted to carry its

initial burden of production by showing that the nonmoving party has insufficient evidence.”); see

also Bedford, 880 F.3d at 996. A moving party must have made “reasonable efforts, using the


                                     38208 Filed 03/31/22 Page 42 of 45
        Case 4:21-cv-00525-FJG Document
normal tools of discovery, to discover whether the nonmoving party has enough evidence to carry

its burden of persuasion at trail.” Nissan Fire, 210 F.3d at 1105. Only after such “suitable

discovery” may a moving party credibly maintain that the nonmoving party lacks evidence

essential to its claims. See id. at 1106.

        Here, there has not been adequate time for discovery. As Blue KC concedes, discovery is

not scheduled to close until May 15, 2022, and GS Labs is continuing to produce responsive

documents. See MPSJ SOF ¶¶ 8, 11; see also SOAF ¶¶ 30–31. To the extent Blue KC contends

GS Labs’ document production is deficient or untimely, this issue is not the proper subject of a

MPSJ. It should be remedied via the discovery process and this Court’s local rules.

        A party may not “use a summary judgment motion as a substitute for discovery and it “may

not require [a] nonmoving party to produce evidence supporting its claim” by filing a premature

summary judgment motion, “saying that the nonmoving party has no such evidence.” Nissan Fire,

210 F.3d at 1105. Under Local Rule 37.1, attorneys must attempt to resolve discovery disputes

prior to requesting court intervention. Blue KC has not attempted to remedy the issues outlined in

its MPSJ, see Moore Decl. ¶ 4, and this Court should decline Blue KC’s invitation to short circuit

the discovery process vis-à-vis a premature and meritless MPSJ.

II.     Alternatively, the Court Should Deny Blue KC’s MPSJ Pursuant to Rule 56(d).

        Alternatively, if the Court determines Blue KC has satisfied its initial burden under Rule

56, which GS Labs specifically denies, GS Labs respectfully requests time to complete discovery

pursuant to Rule 56(d), up to and including May 15, 2022, to address the issues identified in the

MPSJ. For the reasons set forth in the attached declaration, GS Labs therefore respectfully requests

this Court deny Blue KC’s motion as premature, or defer considering the motion until after the

close of discovery on May 15, 2022. Fed. R. Civ. P. 56(d); see also Moore Decl. ¶¶ 24–27.




                                     39208 Filed 03/31/22 Page 43 of 45
        Case 4:21-cv-00525-FJG Document
                                        CONCLUSION

       For the foregoing reasons, GS Labs respectfully requests the Court deny Blue KC’s

Motion for Partial Summary Judgment and enter an order for such other and further relief as it

deems just and equitable.

                                                      Respectfully submitted,

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                                    40208 Filed 03/31/22 Page 44 of 45
       Case 4:21-cv-00525-FJG Document
                               CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2022, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon all
attorneys of record.



                                                          /s/ Christina B. Moore
                                                          Christina B. Moore




                                    41208 Filed 03/31/22 Page 45 of 45
       Case 4:21-cv-00525-FJG Document
